        Case 2:21-cv-06320-MCS-JC Document 69 Filed 11/03/21 Page 1 of 2 Page ID #:561

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Central District
                                                  __________  District of
                                                                       of California
                                                                          __________

          ELLIOT BROIDY; BROIDY CAPITAL                            )
         MANAGEMENT, LLC; CIRCINUS, LLC,                           )
                                                                   )
                                                                   )
             &RXQWHUFODLPPlaintiff(s)                             )
                                                                   )
                                v.                                         Civil Action No. 2:21-cv-06320-MCS-JC
                                                                   )
       MOSAFER INC.; MOSAFER ECOM,                                 )
INC.; GOMOSAFER, STATE OF QATAR, ABU ISSA                          )
 HOLDING WLL, ASHRAF ABU ISSA, NABIL ABU                           )
                  ISSA                                             )
            &RXQWHUFODLPDefendant(s)                              )

                        &2817(5&/$,0 SUMMONS IN A CIVIL ACTION
      &RXQWHUFODLP
To: (Defendant’s name and address) ASHRAFABUISSA
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                                         6XLWH
                                         /RV$QJHOHV&DOLIRUQLD



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: MCGUIREWOODS LLP
                                         KEVIN M. LALLY (SBN 226402)
                                         ABIGAIL G. URQUHART (SBN 310547)
                                         355 S. Grand Avenue, Suite 4200
                                         Los Angeles, California 90071-3103


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT

                    November 3, 2021
Date:
                                                                                       Signature of Clerk or Deputy Clerk
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 Civil Action No. 2:21-cv-06320-MCS-JC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
